                                                                        SIGNED.


                                                                         Dated: August 4, 2020



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                                                                        _________________________________
                                                                        Paul Sala, Bankruptcy Judge
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7                         IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF ARIZONA
8
     In Re:                                       )     Case No. 20-03989-PS
9                                                 )
     SHILOW DON BALL                              )     Chapter 7
10                                                )
                                                  )     ORDER GRANTING TRUSTEE’S
11
                            Debtor                )     MOTION TO MAINTAIN AUTOMATIC
                                                  )     STAY AND HAVE VEHICLES REMAIN
12
                                                  )     PROPERTY OF THE ESTATE
13                                                )
                                                  )
14
              Based upon the Motion to Maintain Automatic Stay and Have Vehicles Remain Property
15
     of the Estate (“Motion”), with no objections being received and further good cause appearing,
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              IT IS HEREBY ORDERED as follows:
17
              1.    Granting the Motion; and
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19            2.    Declaring that the automatic stay under section 11 U.S.C. § 362(a) is hereby

20   maintained and shall not be automatically terminated with respect to the 2008 DODGE RAM,

21   VIN (NOT PROVIDED) (“Vehicle”) and the 2015 CHEVROLET CAMARO, VIN:

22   2G1FF1E31F9239078, and the 2004 FORD F150, VIN: 1FTRF12W54NC09210 further, that
23   the Vehicles remain property of this estate pending further order of this Court.
24
                                     DATED AND SIGNED ABOVE
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                                                   1        Entered 08/04/20 14:38:16            Desc
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